

People v Farquharson (2016 NY Slip Op 03672)





People v Farquharson


2016 NY Slip Op 03672


Decided on May 10, 2016


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 10, 2016

Friedman, J.P., Acosta, Moskowitz, Kapnick, Gesmer, JJ.


1105 4355/07

[*1]The People of the State of New York, Respondent,
vLloyd Farquharson, Jr., Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Rachel T. Goldberg of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Clara H. Salzberg of counsel), respondent.



Judgment, Supreme Court, Bronx County (Caesar D. Cirigliano, J.), rendered November 24, 2009, convicting defendant, after a jury trial, of burglary in the first degree, and sentencing him, as a second violent felony offender, to a term of 20 years, unanimously affirmed.
The verdict was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's credibility determinations. The evidence supports the inference that defendant intended to commit a crime at the time he entered the victim's apartment, particularly given that defendant immediately demanded money while displaying a knife. The jury could have readily rejected defendant's implausible statements regarding his intent at the time of the entry.
The court properly denied suppression of defendant's videotaped statement, as it was sufficiently attenuated from a warrantless arrest made in violation of Payton v New York (445 US 573 [1980]) and from prior suppressed statements (see People v Harris, 77 NY2d 434 [1991]). The record supports the court's finding (24 Misc 3d 1232[A], 2009 NY Slip Op 51711[U], *7) that the passage of many hours and the other intervening events supporting a finding of attenuation outweighed the contrary factors cited by defendant.
We perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: MAY 10, 2016
CLERK








